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                  Exhibit
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  1                           UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
  2                                 SOUTHERN DIVISION

  3     _______________________________________

  4     ANTHONY DAUNT,

  5                              Plaintiff,

  6

  7                                                   DOCKET NO. 1:20-cv-522
        vs.
  8
        JOCELYN BENSON, in her official
  9     capacity as Michigan Secretary of
        State; JONATHAN BRATER, in his
 10     official capacity as Director of
        the Michigan Bureau of Elections;
 11     SHERYL GUY, in her official
        capacity as Antrim County Clerk;
 12     DAWN OLNEY, in her official
        capacity as Benzie County Clerk;
 13     CHERYL POTTER BROWE, in her
        official capacity as Charlevoix
 14     County Clerk; KAREN BREWSTER, in
        her official capacity as
 15     Cheboygan County Clerk; SUZANNE
        KANINE, in her official capacity
 16     as Emmet County Clerk; BONNIE
        SCHEELE, in her official capacity
 17     as Grand Traverse County Clerk;
        NANCY HUEBEL, in her official
 18     capacity as Iosco County Clerk;
        DEBORAH HILL, in her official
 19     capacity as Kalkaska County
        Clerk; JULIE A. CARLSON, in her
 20     official capacity as Keweenaw
        County Clerk; MICHELLE L.
 21     CROCKER, in her official capacity
        as Leelanau County Clerk;
 22     ELIZABETH HUNDLEY, in her
        official capacity as Livingston
 23     County Clerk; LORI JOHNSON, in
        her official capacity as Mackinac
 24     County Clerk; LISA BROWN, in her
        official capacity as Oakland
 25     County Clerk; SUSAN I. DEFEYTER,
        in her official capacity as
Case
 Case1:24-cv-00262-JMB-RSK
       1:20-cv-00522-RJJ-RSK ECF
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  1     Otsego County Clerk MICHELLE
        STEVENSON, in her official
  2     capacity as Roscommon County
        Clerk; and LAWRENCE KESTENBAUM,
  3     in his official capacity as
        Washtenaw County Clerk,
  4

  5                              Defendants.

  6     ________________________________________/

  7

  8               TRANSCRIPT OF HEARING ON MOTION TO DISMISS AND

  9                          RULE 16 SCHEDULING CONFERENCE

 10            BEFORE THE HONORABLE ROBERT J. JONKER, CHIEF JUDGE

 11                              GRAND RAPIDS, MICHIGAN

 12                                  October 27, 2020

 13

 14     Court Reporter:                  Glenda Trexler
                                         Official Court Reporter
 15                                      United States District Court
                                         685 Federal Building
 16                                      110 Michigan Street, N.W.
                                         Grand Rapids, Michigan 49503
 17

 18     Proceedings reported by stenotype, transcript produced by

 19     computer-aided transcription.

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 25
Case
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  1                                               Grand Rapids, Michigan

  2                                               October 27, 2020

  3                                               3:57 p.m.

  4                               P R O C E E D I N G S

  5                 THE COURT:     All right.     We're here on the case of

  6     Daunt against Benson, 1:20-cv-522, at the Rule 16.               There are

  7     motions to dismiss pending from the State defendants as well as

  8     one of the intervenors.

  9                 Let's start with appearances and we'll go from there.

 10     For the plaintiff?

 11                 MR. NORRIS:     Good afternoon, Your Honor, Cam Norris

 12     for the plaintiff, Mr. Daunt.

 13                 THE COURT:     All right.     Thank you.

 14                 And for the defendants?

 15                 MS. BRIGGS:     Good afternoon, Your Honor,

 16     Assistant Attorney General Elizabeth Husa Briggs on behalf of

 17     Secretary of State Jocelyn Benson and Director of Elections

 18     Jonathan Brater.

 19                 THE COURT:     All right.     Thank you.

 20                 For our intervenors who do we have?

 21                 MS. BRAILEY:      Emily Brailey on behalf of

 22     Philip Randolph and Rise, Inc.

 23                 THE COURT:     Thank you.

 24                 MS. PRESCOTT:      Good afternoon, Your Honor,

 25     Sarah Prescott, local counsel for the same.
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  1                 MR. DONNINI:      And good afternoon, Your Honor,

  2     George Donnini from Butzel Long on behalf of the intervenor

  3     defendant League of Women Voters.

  4                 THE COURT:     All right.     Thank you.

  5                 For today's purposes if you use the microphone right

  6     in front of you, you're probably going to be best off.

  7     Especially if you want to stay masked, which is fine.                It will

  8     be easier for us to hear.        Just sit down, pull the microphone

  9     close.    If anybody can't sit down in court -- and I get that,

 10     lawyers are not used to sitting down in court -- feel free to

 11     walk over to the podium and use the microphone there.                Either

 12     way.

 13                 We're here for the Rule 16, and, of course, that's a

 14     scheduling conference.        You know, I did want to hear from the

 15     parties, especially the moving parties, on the motion to

 16     dismiss.    We had the original motion to dismiss directed to the

 17     initial Complaint.       At that time it wasn't clear to me anyway

 18     whether the plaintiff would be seeking relief in advance of

 19     next Tuesday's election or whether it was simply seeking relief

 20     down the road in the fullness of time so to speak.

 21                 If I'm understanding it right, Mr. Norris, your

 22     relief is directed to, you know, down the road and nothing

 23     specific to next Tuesday.        Is that right?

 24                 MR. NORRIS:     Correct, Your Honor.

 25                 THE COURT:     Okay.    Then there was an
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  1     Amended Complaint and another response.            The reason I bring it

  2     up is because, you know, I had reviewed the briefing and case

  3     law in that first round, and, of course, now again in the

  4     second round, I know the briefing isn't complete, but I have to

  5     say it doesn't seem like a hard standing case to me.               It seems

  6     like somebody like this plaintiff has standing, and if this

  7     plaintiff doesn't, I don't know who does under a National

  8     Voting Rights Act kind of claim.          And, frankly, I think the

  9     only National Voting Rights Act case I saw in the briefing from

 10     any of the moving parties is one that granted standing

 11     ultimately.     It was the Texas case.        So I want to make sure I

 12     understand where the moving parties are going on that, but I'm

 13     not inclined, from what I've seen so far, to think that there's

 14     much chance of a standing dismissal, at least on Rule 12.

 15                 So let me go to Ms. -- is it Ms. Briggs?

 16                 MS. BRIGGS:     That's fine, Your Honor.

 17                 THE COURT:     Okay.    Pull that forward and make sure I

 18     understand at least the essence of where you are on it, and

 19     then we'll talk to any of the moving parties on the intervening

 20     side who want to address it as well.           Go ahead.

 21                 MS. BRIGGS:     Well, Your Honor, we do believe that

 22     Mr. Daunt has not established standing.            And I would point

 23     you -- I mean, if you're focusing on the Texas case in

 24     particular, Mr. Daunt is not -- Mr. Daunt is an individual.

 25     He's not --
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  1                 THE COURT:     Well, let me start out with do you have

  2     any National Voting Rights Act case other than the American

  3     Civil Rights Union case?

  4                 MS. BRIGGS:     I don't believe so, Your Honor, but we

  5     do have cases definitely dealing with --

  6                 THE COURT:     I get that, but under the NVRA that's the

  7     only one I saw.      At least that's the only one you can think of

  8     right now.

  9                 MS. BRIGGS:     Okay.

 10                 THE COURT:     And at the end of the day, at least some

 11     plaintiffs had standing in that case, right?

 12                 MS. BRIGGS:     Not individuals, Your Honor.

 13                 THE COURT:     I said at least some plaintiffs had

 14     standing in that case, right?

 15                 MS. BRIGGS:     Only the organizations.

 16                 THE COURT:     So some plaintiffs had standing in that

 17     case.

 18                 MS. BRIGGS:     The organizations, but they did not have

 19     the --

 20                 THE COURT:     Did some plaintiff have standing in that

 21     case or not?

 22                 MS. BRIGGS:     Yes, but not as individuals.

 23                 THE COURT:     Okay.    So if Mr. Daunt joined an

 24     organization he could have standing?           Is that the position?

 25                 MS. BRIGGS:     Well, the organization would have to be
Case
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  1     the plaintiff.

  2                 THE COURT:     All right.     Anything else on the standing

  3     argument from the State defendants?

  4                 MS. BRIGGS:     Well, we've also argued that we do not

  5     believe his letter, the February 26th letter, is sufficient.

  6     That he doesn't give sufficient notice as to what his actual --

  7     he doesn't identify any policy or procedure or any -- basically

  8     any reason by which the Secretary of State or the director --

  9     why Michigan's general program are not sufficient under the

 10     NVRA.

 11                 THE COURT:     All right.     Anything else on the State

 12     side?

 13                 MS. BRIGGS:     Well, we don't believe that a

 14     generalized -- we believe basically what he's shown is that --

 15     and what he's alleged is that this is just a generalized

 16     grievance.     He's just appearing just on behalf as a Michigan

 17     voter and there's nothing specific.           He's not even alleging to

 18     be representative or involved in any politics with respect to

 19     the specific counties at issue or that he alleges are showing

 20     erroneous, for lack of a better word, erroneous voter

 21     registration numbers, so . . .

 22                 And Article III standing, Your Honor, does require

 23     more than just a generalized grievance about an alleged problem

 24     with government activity.        It does require a concrete and

 25     direct injury.      And it does require something that could be
Case
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 1     fairly redressable from this Court.

 2                 Mr. Daunt is not associated even or does not even

 3     allege to be associated with many of the counties that he

 4     claims the data showing that there's a problem with.               Under the

 5     case law, Your Honor, as we briefed, that's a -- standing is a

 6     threshold issue, and he's not established standing.

 7                 THE COURT:     Okay.

 8                 MS. BRIGGS:     Thank you.

 9                 THE COURT:     Thank you.

10                 From the intervenors, I don't think that there was a

11     motion from the League of Women Voters, but there were from

12     some of the others.       So I don't know who would like to speak on

13     behalf of the moving parties on the intervenor side.

14                 MS. BRAILEY:      Your Honor, I can speak.        This is

15     Emily Brailey on behalf of Philip Randolph and Rise.

16                 THE COURT:     Okay.    Thank you.

17                 MS. BRAILEY:      We largely agree with what Ms. Briggs

18     has stated.     We agree with everything in that motion to

19     dismiss, including about the generalized grievance issue and

20     that plaintiff doesn't have standing.

21                 And I'll add that we also don't think there is an

22     injury in fact about -- related to voter fraud or vote

23     dilution.

24                 THE COURT:     Or dilution?      Okay.

25                 MS. BRAILEY:      Or vote dilution.      I think that -- you
Case
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 1     know, we rest on the cases we cited in our brief.            There's a

 2     lot of recent precedent where their complaints can't stand on

 3     such small evidence of or no evidence of voter fraud.

 4                 THE COURT:    Do you have any National Voter Rights Act

 5     case?   I don't think you cited the Texas case, but --

 6                 MS. BRAILEY:     That's correct, Your Honor.

 7                 THE COURT:    But do you have any other National Voter

 8     Rights Act case --

 9                 MS. BRAILEY:     No, Your Honor, but I am happy to

10     provide --

11                 THE COURT:    -- on voter registration?        Go ahead.

12                 MS. BRAILEY:     I'm sorry.    I'm happy to provide

13     additional briefing if you would like us to do that.

14                 THE COURT:    Do you know if there is any case?

15                 MS. BRAILEY:     Not off the top of my head right now.

16                 THE COURT:    All right.     Thank you.

17                 MS. BRAILEY:     And in addition, you know, we also

18     think the remaining factors of standing including causation and

19     redressability cannot be met here.

20                 And on top of that, I mean, I guess you're only

21     asking about standing right now, but we also have the 12(b)(6)

22     failure to state a claim.

23                 THE COURT:    Yeah, go ahead.      You can touch on that

24     too if you want to.

25                 MS. BRAILEY:     So, again, this goes back to vote
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 1     dilution and whether that can even be recognized as a claim in

 2     this context.     And really it's only been addressed in the

 3     reapportionment cases.       And even if it is recognized outside of

 4     those contexts, the plaintiff would need to show at least that

 5     he's part of a group that is purportedly having its votes

 6     diluted, and that just doesn't appear in this Complaint.

 7                 And finally, we echo a lot of what the State has in

 8     their motion to dismiss regarding the current list maintenance

 9     program and that there's just no evidence in that Complaint

10     that Michigan is not already implementing a reasonable and

11     adequate maintenance program.

12                 THE COURT:    All right.     Thank you.

13                 I don't know if -- I can't remember, Ms. Prescott,

14     are you representing the League of Women Voters or are you

15     representing the same groups or --

16                 MS. PRESCOTT:     The same groups, Your Honor.

17                 THE COURT:    Okay.    Do you want to add anything on

18     their behalf?

19                 MS. PRESCOTT:     No, I don't.     Thank you.

20                 THE COURT:    All right.     And from Mr. Donnini, I

21     didn't see a motion from your clients.          Do you want to have

22     anything to say on this?       And just stay seated if you do.

23                 MR. DONNINI:     Sure, Your Honor.      It is a habit of

24     mine.

25                 Your Honor, we did file an Answer.         I would just
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 1     point out that we believe also -- we believe the arguments in

 2     the motions to dismiss that were filed are meritorious.              We

 3     don't think that this states a valid claim upon which relief

 4     can be granted.     And that is in our Answer.        However, we did

 5     file an Answer and we are prepared to move forward if it does

 6     survive, but for the arguments that have been made in court and

 7     in the briefing, we agree that this case does not state a claim

 8     and ought to be dismissed.

 9                 THE COURT:    All right.     I know your time to respond

10     hasn't fully run yet from the plaintiff's side, Mr. Norris, but

11     do you want to be heard at all today on where you're going with

12     that?    I know you touched in your earlier response on the

13     notice letter, not really on the other issues.

14                 MR. NORRIS:     Thank you, Your Honor.       Just briefly.

15     Your Honor is correct that there have been NVRA cases in the

16     past filed under Section 8, and those cases have been litigated

17     past the 12(b) stage.       These are not cases that are normally

18     dismissed for lack of standing.

19                 And one point that I would add to the prior case law,

20     I believe all the NVRA-specific cases that have been cited all

21     predate the Supreme Court's decision in Spokeo, which

22     Your Honor, I'm sure, is familiar with.          And in Spokeo the

23     Supreme Court made very clear as a holding for the first time

24     that Congress can actually affect how the Article III inquiry

25     works.   And here we have an express cause of action from
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 1     Congress that allows individuals to bring claims under

 2     Section 8 of the NVRA.       That statute says individuals.         It

 3     allows people like Mr. Daunt to sue if they file the requisite

 4     presuit notice letter, as he did.

 5                 And as the Court explained in Spokeo, Congress can

 6     elevate theories of causation and types of injuries that might

 7     not otherwise satisfy Article III and by recognizing those

 8     theories can make them satisfy Article III.           And we think

 9     that's precisely the case with the NVRA.

10                 But even aside from Spokeo, even pre-Spokeo these

11     types of claims are cognizable and plaintiffs have standing to

12     bring them, like Mr. Daunt does.

13                 THE COURT:    All right.

14                 MS. BRIGGS:     May I respond, Your Honor?

15                 THE COURT:    Go ahead.     Sure.

16                 MS. BRIGGS:     The private cause of action authorized

17     under the NVRA is only available to a person who has been

18     aggrieved, and Mr. Daunt has not shown any way in which he's

19     been aggrieved.     Or at least there's not any factual allegation

20     even in the Complaint as amended that supports that.

21                 Secondly, I would point you to page 17 in the State's

22     brief, page ID 320, where we identify and distinguish cases in

23     which -- we distinguish Mr. Daunt's allegations from those in

24     which the Sixth Circuit and the other circuits have found

25     standing in the context of the NVRA.          And so we have addressed
Case
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 1     that as well, Your Honor.

 2                 Mr. Daunt's allegations in his Complaint even as

 3     amended don't rise to that level.         He's not shown that he's

 4     aggrieved.

 5                 THE COURT:    All right.     And anything else,

 6     Ms. Brailey?

 7                 MS. BRAILEY:     Yes, Your Honor.      We agree that he has

 8     not alleged that he's aggrieved, but on top of that, as we

 9     mentioned in our brief on page 3, we also argue that

10     Article III standing is a requirement in and of itself in

11     addition to being aggrieved under the statute.            And I would

12     also like to note that, you know, after the response we would

13     like the opportunity to have a reply and we can provide an

14     NVRA-focused brief if that would be helpful to the Court.

15                 THE COURT:    All right.     Well, I don't think any

16     additional briefing is needed at this stage, to tell you the

17     truth.   And, of course, a ruling on a motion under Rule 12

18     doesn't mean it's the end of the issue.          Rule 56 is always

19     there.   But for Rule 12 purposes I don't think there's any

20     reason to go forward with further briefing because I think the

21     motions as they stand need to be denied.

22                 I think there's clear standing established as a

23     matter of allegations here and at least a plausible claim

24     stated, which is all that needs to be happening at this stage

25     of the case.     And I'll just briefly articulate why I think
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 1     that's the case.

 2                 The parties are, of course, correct in their briefing

 3     that you need under 52 U.S.C. § 2510 a person aggrieved, and

 4     then, of course, under Article III of the Constitution somebody

 5     is aggrieved that still satisfies the constitutional

 6     requirements of standing.

 7                 In addition, under the National Voter Registration

 8     Act you'd also have to show that the individual involved or the

 9     person aggrieved satisfied the notice requirement.             I think

10     they are all established here.        At least as a matter of

11     pleading.    Which doesn't mean that the plaintiff ultimately

12     prevails but does, I think, mean that the plaintiff gets to go

13     beyond where they are right now.

14                 With respect, first of all, to the notice letter, the

15     notice letter is attached to the First Amended Complaint, and

16     it's, in my view, a fairly detailed statement of why the

17     plaintiff thinks that there's a problem with the Michigan voter

18     registration lists and in particular that the defendants

19     haven't followed through on their obligation to come up with

20     under Section 8 an appropriate general program to remove voters

21     that don't belong on the registration list because they have

22     moved or because there has been a death.           And I don't think

23     it's incumbent on the plaintiff in a notice letter to say "Here

24     is the existing program of the state and here are the

25     particular flaws in it."       I think it is simply incumbent on the
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 1     plaintiff to say "Here is why I think there's a problem and why

 2     I don't think whatever program you're using, if any, is up to

 3     the task."

 4                 And certainly on the face of things, at least in

 5     Leelanau County if you have more registered voters than

 6     eligible voters living, at least based on the census data, a

 7     reasonable inference, or at least a plausible inference is

 8     there's a problem with the system that's been used to address

 9     the voter registration list.        And there's additional specific

10     examples given.     I don't know if those numbers are going to

11     hold up.    I don't know if that's going to be explained in some

12     other fashion.     But I do think for purposes of a notice letter

13     as well as the allegations of the First Amended Complaint which

14     largely repeat that detail, there's at least a plausible case

15     for a problem with the Section 8 obligation.           And whether or

16     not the State has a program, whether or not it's implemented a

17     program, and whether or not it's reasonable, those are merits

18     issues that, of course, aren't decided today and the plaintiff

19     may ultimately not prevail, but I think they have done enough

20     to get that far.

21                 What the plaintiff's First Amended Complaint includes

22     in addition to what's in the notice letter is additional

23     factual basis that the plaintiff says illustrates the reasons

24     for their concern in terms of the I think it was about 500,000

25     or so returns that came back when the Secretary of State sent
Case
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 1     out the absentee applications earlier.          It was after the notice

 2     letter but before the First Amended Complaint.            And I think

 3     that adds to the plausibility for purposes of the 12(b)(6) and

 4     also gets into where we'll go next which is whether or not

 5     Mr. Daunt is an aggrieved person under the statute and

 6     sufficiently pleading a basis for standing with Article III.

 7                 I think that Mr. Daunt in the First Amended Complaint

 8     really relies on three main categories of injury that he says

 9     are concrete and particularized.         He is a voter in the state of

10     Michigan.    He is concerned about the possibility that his vote

11     would be diluted.      But he's not only focused on that.         He's

12     also concerned about the general cloud on the outcome of an

13     election if the registration lists aren't properly purged and

14     reflecting somebody -- or a list that's complied with the

15     Section 8 requirement.       And he's concerned that he has to spend

16     extra time and effort policing the efforts of the secretary and

17     the director of elections to make sure these lists are where

18     they need to be and to make sure that the voting is coming off

19     properly.    And I don't think that matters that he's doing so or

20     alleging his interest in doing so as an individual as opposed

21     to an organization.      The fact that he is expressing the same

22     kind of concern that the organization did in the American Civil

23     Rights Union case from the Western District of Texas is, I

24     think, fundamentally the point.         And he alleges a plausible

25     basis for why he as an individual voter in the state and active
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Case 1:24-cv-00262-JMB-RSK
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 1     in Republican politics in his case would be interested and

 2     concerned about that, and for purposes of alleging injury I

 3     think that's sufficient.

 4                 The point that the plaintiff makes about Spokeo and

 5     the statutory cause of action is, I think, also important.

 6     You know, I think so many of us, both at the bench and the bar,

 7     from the Supreme Court point of view look at Spokeo as a case

 8     that denied standing on a statutory claim or at least found it

 9     inadequate as presently alleged and wanted to go back and have

10     the lower courts review it under the new standard.             And so it's

11     easily cited and I think to some extent potentially

12     misunderstood as a case that makes standing unusually difficult

13     for a plaintiff seeking to enforce a private right of action

14     under a congressional statute.        But in fact, as the

15     Ninth Circuit found on remand in Spokeo, 867 F.3d. 1108 in

16     2017, the fact that Congress makes a decision to create a

17     private right of action is something that the Court is

18     obligated under the Supreme Court's decision and then as

19     interpreted now by the circuits, Second Circuit, Ninth Circuit,

20     when the Congress says "We have the following interests," and

21     here we have a variety of interests at issue in the Voter

22     Registration Act, but two of them certainly are concerned with

23     exactly what Mr. Daunt says he's concerned with, the integrity

24     of the electoral process in ensuring that accurate and current

25     voter registration roles are maintained, when Congress lays
Case
Case 1:24-cv-00262-JMB-RSK
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 1     those out and says here is a private right of action for a

 2     person aggrieved to enforce it, and that person, Mr. Daunt in

 3     this case, comes forward, that's close to almost -- I won't say

 4     a slam dunk -- but close to saying if not Mr. Daunt, then who?

 5     This is exactly the kind of person that Congress had in mind to

 6     protect these interests for the reasons that Mr. Daunt

 7     articulates in the First Amended Complaint.

 8                 The intervenors are here, and I thought their claim

 9     for intervention was clear enough because they are concerned

10     with also making sure that the other interests of the

11     National Voter Registration Act are recognized and enforced and

12     that we don't unduly purge voter roles, making it more

13     difficult for eligible citizens to register or to participate

14     in elections.     They are both sides of the same coin, and I

15     think this is exactly the way Congress thought the interests

16     would be vindicated and protected on all sides.            So for me when

17     you have a congressionally created private right of action like

18     this to address exactly the interests that Mr. Daunt says he's

19     suffering from a fear of losing, you have intervenors on the

20     other side who want to make sure things don't go off the rails

21     in removing people who deserve to be there or discouraging them

22     from registering, we have exactly the interests aligned that I

23     think Congress, first of all, had in mind and that the

24     Supreme Court in Spokeo and the circuits following Spokeo have

25     recognized as part and parcel of what's involved in a statutory
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 1     cause of action.

 2                 I already touched on the American Civil Rights Union

 3     case which I think -- we might have missed something -- but I

 4     think it's the only National Voter Registration Act case I saw

 5     cited by anybody on the standing issue, did result in standing

 6     for the plaintiff, albeit not on every theory advanced but

 7     at least on multiple theories.        And the only other cases that I

 8     saw outside of the NVRA context that talked about general

 9     dilution or fear of dilution I think are all readily

10     distinguishable and that none of those arise under a situation

11     like the National Voter Registration Act where Congress has

12     articulated the private right of action and reasons for it.

13                 The other case that I think was referenced of

14     interest in probably the State briefing, it might have been the

15     intervenors, was the Buchholz case from our circuit under the

16     Fair Debt Collection Practices Act where standing was not

17     recognized, but that's a perfect example of where the interests

18     that the party plaintiff was talking about was not within the

19     scope of the cause of action that Congress had set up, and I

20     think in that case the trial court here, Judge Quist, and then

21     the Sixth Circuit affirming him said, "No, that's not right.

22     We don't have Article III standing here even though you might

23     have a technical issue under the statute."           And that's because

24     in Buchholz the complaint was that the lawyers were harassing

25     the plaintiff by writing him letters, telling him he had to pay
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 1     on a debt that he didn't contest.         And undoubtedly that may

 2     have created anxiety, but not the kind of anxiety that was at

 3     the root of the Fair Debt Collection Practices Act.

 4                 And I think in this case the situation is quite

 5     different.    The concerns that Mr. Daunt articulates around

 6     potential for dilution, potential for a cloud on the election,

 7     and potential for extra work and resources policing the

 8     validity and propriety of the election are exactly interests

 9     that are within the scope of the NVRA, just as the interests

10     the intervenors intend to protect are other interests on the

11     other side of the NVRA coin.        So from my perspective there is

12     proper notice in advance.       There is at least a plausible basis

13     for a cause of action alleged under the National Voter

14     Registration Act and a plausible basis for standing articulated

15     under Article III.      So for those reasons I'm going to deny the

16     pending motions to dismiss.

17                 Of course, the parties remain free to raise all these

18     issues as the record develops in addition to the merits, and

19     that's what we'll litigate going forward.           But the motions I'm

20     denying today.

21                 The schedule is really not something the parties

22     disagree about very much.       At least once the motions are

23     decided.    So let me do this:      I'll articulate deadlines that I

24     would propose and then see if anybody has comments or

25     objections to that or concerns about it or anything else that
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 1     we need to address.

 2                 From a scheduling point of view I'd start with

 3     paragraph 5 of your Joint Status Report on joinder, and rather

 4     than have a specific date, which is pretty early in any case,

 5     I'm simply going to say do that by motion if and when a party

 6     thinks there's a need to do that, or a stipulation if everybody

 7     agrees, but I won't give you a separate date for that.

 8                 For discovery overall I'm going to propose June 30 of

 9     next year, which is a little longer than you're thinking but I

10     think appropriate.      And I'd key a series of expert disclosures

11     off that.    If you're going to use an expert on an issue where

12     you have the burden of proof, disclose with reports by

13     March 31.    Any other expert you're using disclose by April 30.

14     And if you need a rebuttal expert after that, something

15     surprises you in the April 30 disclosure, disclose with reports

16     by May 15.

17                 We'd give you a motion cutoff of July 31, and then I

18     would set a second Rule 16 sometime after the motions are filed

19     so we can get together, find out what's going to be litigated

20     substantively in those motions, whether there's room at that

21     point for ADR, maybe there is, maybe there isn't, and what else

22     needs to be happening from a scheduling point of view.              So

23     those would be the overall deadlines I'd be prepared to set

24     today.

25                 For discovery limits my inclination would be to do
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 1     just the generic discovery limits at this point under the rules

 2     which would be 10 depositions per side as the current limit

 3     with the seven-hour presumptive limit, 25 interrogatories.              I

 4     think the parties want to limit it to 25 requests for

 5     admission.    That's fine with me too.

 6                 So let me start with the plaintiff, Mr. Norris,

 7     concerns, questions, or other things we need to take up from

 8     your perspective?

 9                 MR. NORRIS:     Thank you, Your Honor.       I think the only

10     disputed question in the status report was the number of

11     depositions.

12                 THE COURT:    Right.

13                 MR. NORRIS:     We initially sued several county

14     defendants because that's, you know, the data we have, and the

15     Complaint suggests problems at the county-wide level.             And we

16     would like to be able to depose all the county defendants.

17     However, we don't feel strongly about an initial 10

18     depositions.     Perhaps the county defendants are not fruitful

19     avenues for discovery, and maybe we'll find that out.             As long

20     as -- I think my colleagues have already expressed to me that

21     if we need additional depositions we can raise that by motion

22     later and they would be accommodating.

23                 THE COURT:    Okay.    Let's go to Ms. Briggs for the

24     defendants.

25                 MS. BRIGGS:     Your Honor, Mr. Norris is correct, we do
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 1     believe that 10 depositions is plenty.          And with respect to the

 2     counties, based on your September order he can submit

 3     interrogatories and requests for admission to the counties, and

 4     I don't -- it seems to me that whatever information he may need

 5     to get from them could be gotten from them in that way.              So

 6     from our perspective 10 depositions is plenty given this case.

 7                 THE COURT:    Okay.    Ms. Brailey.

 8                 MS. BRAILEY:     We also agree that 10 depositions is

 9     plenty, and we also agree that the federal rule set these

10     limits and we think it's fair to abide by them.            And, again, we

11     agree that if we need to reassess down the road we would be

12     amenable to conferencing.

13                 THE COURT:    Okay.    Ms. Prescott, anything you want to

14     add?

15                 MS. PRESCOTT:     No, Your Honor.

16                 THE COURT:    All right.     Mr. Donnini.

17                 MR. DONNINI:     Your Honor, we agree as well, but I

18     don't have anything further to add.

19                 THE COURT:    Okay.    Well, I'm going to go ahead with

20     the deadlines that I outlined, then, and the discovery limits.

21     It doesn't preclude a motion down the road if the plaintiff

22     says "Hey, I need depositions that go beyond that," or it

23     doesn't preclude the parties from agreeing to that if they see

24     it the same way by that time.        But I do think that for starting

25     purposes the presumptive limits make sense here.            Even from the
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 1     allegations that the plaintiff has in the First Amended

 2     Complaint, there's going to be some counties that are more the

 3     focus of interest than others.        And beyond that, as Ms. Briggs

 4     indicates, there are opportunities short of deposition to get

 5     information that may satisfy what the parties need or at least

 6     provide a basis for the Court down the road to say "Well, I

 7     think some additional depositions are needed" or not.

 8                 So that's what I'm going to do is stick with the

 9     presumptive limits for now.        But, of course, anybody is free to

10     either seek protective orders limiting that or adding to that

11     if the facts develop on the ground differently.

12                 From any party's perspective are there other things

13     that should be addressed today?           Plaintiff?

14                 MR. NORRIS:     No, Your Honor.

15                 THE COURT:    Or defense?

16                 MS. BRIGGS:     No, Your Honor.

17                 THE COURT:    Or intervenors?

18                 MS. BRAILEY:     No, Your Honor.

19                 MR. DONNINI:     No, Your Honor.

20                 THE COURT:    Okay.    Thank you all.      See you next time.

21                 MS. BRIGGS:     Thank you.

22                 THE CLERK:    Court is adjourned.

23           (Proceeding concluded at 4:29 p.m.)

24                                   *   *   *    *   *

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 1                 I certify that the foregoing is a correct transcript

 2     from the record of proceedings in the above-entitled matter.

 3                 I further certify that the transcript fees and format

 4     comply with those prescribed by the court and the Judicial

 5     Conference of the United States.

 6

 7     Date:   November 3, 2020

 8

 9                                     /s/ Glenda Trexler
                                       __________________________________
10                                     Glenda Trexler, CSR-1436, RPR, CRR

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